Case 1:10-cr-00317-REB Document 735-23 Filed 01/17/14 USDC Colorado Page 1of4

NOTICE OF AND RESCISSION OF MOTION FOR LEAVE TO FILE MOTION FOR
DISMISSAL OF INDICTMENT WITH PREJUDICE DUE TO GRAND JURY
IRREGULARITIES, FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr~00317-REB Document 278 Filed 08/30/11 uspc Colorado Page 1 of
3 August 25, 2011 Case No. 10~cr-00317-REB Case No. 10-cv-01073-MEH MOTION FOR LEAVE TO
FILE MOTION FOR DISMISSAL OF INDICTMENT WITH PREJUDICE DUE TO GRAND JURY IRREGULARITIES,
Page 2 of 3 Richard Kellogg Armstrong CERTIFICATE OF SERVICE 25th day of AUGUST Richard
Kellogg Armstrong, Page 3 of 3"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Ricahrd Kellogg Armstrong and the original "Case 1:10-cr-00317-REB Document
278 Field 08/30/11 uspc Colorado Page 1 of 3 August 25, 2011 Case No. 10-cr-00317-REB
Case No. 10-cv-01073-MEH MOTION FOR LEAVE TO FILE MOTION FOR DISMISSAL OF INDICTMENT

CERTIFICATE OF SERVICE 25th day of AUGUST Richard Kellogg Armstrong, Page 3 of 3" including
every copy bearing my signature and date, for cause. I made a mistake creating, signing
and presenting the MOTION FOR LEAVE TO FILE MOTION FOR DISMISSAL OF INDICTMENT WITH
PREJUDICE DUE TO GRAND JURY IRREGULARITIES, I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

lay son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"yoy
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
ge iver yourself; for you have come into the hand of your friend; go humble yourself; Plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

‘UNITED STATES DISTRICT Cou :
DENVER COLORADO RT Sincerely

Ze glo Lh Kp JF
JAN 17 204 NE; Le Mr) . Tire,

Richard Kellogg A

JEFFREY p c/o 20413-298
COLWELL Federal Correctional
‘ Institution - Lompoc
Se 3600 Guard Road

Lompoc, California

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-23 Filed 01/17/14 USDC Colorado Page 2 of 4

Case 1:10-cr-00317-REB Document 278 Filed 08/30/11 USDC Colorado Page 1 of 3

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

PILES

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DISTRICT CF Gols an

FROM: 20413298 .

TO: 2011 AUG 30 PH 1:50

 

SUBJECT: Motion toffile leave to file Motion 8/25 ,
DATE: 08/25/2011 09:58:39 PM GREGO..

August 25, 2011

Richard Kellogg Ari

20413-298

Federal Detention C Englewood
9595 Quincy Ave.

Littleton, CO 80123

UNITED STATES D T COURT COLORADO

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S

UNITED STATES O ICA Case No. 10-cr-00317-
Plaintiff ase No. 10-cv-01073-MEH

RICHARD KELL TRONG
Defendant \
REQUEST THAT THE COURTR OGNIZE

Haines v. Kerner 404 U.S., ey

eK
MOTION FOR LEAVE LE MOTION FOR DISMISSAL WDICTMENT WITH PREJUDICE QUE GRAND JURY
IRREGULARITIES.
__ ee
moves the court for leave to LAr For Dismissal of

PT

 

 

  
  

COMES NOW Richard Kellogg Armstrong, Defendan pro\se a

indictment With Preju Di to Grand Jury Irregularities.
\

 
 
   
   
 

Defendant Armstro n trial and, due to his age, if convj ed, could be sentenced to the equiV@&gent of a death sentence.
Defendant's very life i line. Defendant has never had a,prior conviction, has been a model citiz d yet since he had
a passport and had a and did work in another country, ig‘considered a “flight risk" by the gov: he argument

  
  
    
 

it to monitor all mail

    
 
 

borders on the absurd, icularly since it impacts the Defendadt’f trial Strategy, and allows the gov
received and sent by — as well as all phone calls mageland emails sent and received.

AMerdment violation. The Defendan ves the court to allow
tiininal activities by the Assistant U.S. mey and his key

The Defendant has the legal right to challenge the GrantJ proceedings and the actions of the rs of the government
as well as Agents of thagRS which have all the earmarks of alleged government corruption. Nothing is so orized by
Congress, which gives i courts their limited jurisdiction, and nothing is so authorized by the Constitution.

i

The continued confinenient of the Defendant is a clear 8th
him to file the aforementipned Motion as it addresses al
witness, an IRS/CID A lated to Grand Jury proce

Whatever the form i

Wherefore, premises considered, Defendant Armstrong moves the court to accept a Motion for Dismissal of Indictment With
Prejudice Due To Grand Jury Irregularities, as is his right according to law. A presumption now exists that this court is nothing

and the do no harm rule, a further Presumption will be created that the court is directing blockage of information that is
detrimental to the government.
Case 1:10-cr-00317-REB Document 735-23 Filed 01/17/14 USDC Colorado Page 3 of 4

Case 1:10-cr-00317-REB Document 278 Filed 08/30/11 USDC Colorado Page 2 of 3

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

Unsworn declaration under penalty of perjury 28 USC, 1746(1), an affidavit of truth.
Respectfully submitted, Ra
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Case 1:10-cr-00317-REB Document 278 Filed 08/30/11

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UNITED STATES DISTRICT C /
DENVER, COLORADY” "A “ A LE. bee Go eX
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